 Case:
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       6:19-cr-00014-REW-HAI  Doc2795-1 Filed: 03/21/19
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                       UNITED STATES DISTRICT 9!U¥itern Dh!td~t o.f K~ntuckv
                       EASTERN DISTRICT OF KEN~~UCKY F I l E D
                            SOUTHERN DIVISION i         _
                                  LONDON       {      MAR 2 1 2019
                                                                         AT LONDON
UNITED STATES OF AMERICA                                              ROBERT R. CARR
                                                                  CLERK U.S. DISTRICT COUR'



v.                                               INDICTMENT NO. '~/Cfc t               /¥- C~
                                                           21 u.s.c. § 846

DAVID B. GUSTIN

                                      * * * * *
THE GRAND JURY CHARGES:

       Beginning on or about May 2, 2008, and continuing through on or about April15,

2016, in Clay County, in the Eastern District of Kentucky, and elsewhere,

                                  DAVID B. GUSTIN

did conspire with others to knowingly and intentionally distribute and dispense a quantity

of pills containing controlled substances, to include oxycodone, a Schedule II controlled

substance, hydrocodone, a Schedule II and Schedule III controlled substance during the

conspiratorial period, and alprazolam, a Schedule IV controlled substance, in violation of

21 U.S.C. §§ 841(a)(l) and 84l(b)(l)-(2), all in violation of21 U.S.C. § 846.

                                                A TRUE BILL



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~~~~~.
     v,
ROBERT M. DUNCAN, JR.                  •
UNITED STATES ATTORNEY
 Case:
 Case: 1:17-md-02804-DAP  Doc #:
       6:19-cr-00014-REW-HAI  Doc2795-1 Filed: 03/21/19
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                                      PENALTIES

COUNT 1: If the conspiracy involved schedule II controlled substances, not more than
         20 years imprisonment, $1,000,000 fine, and 3 years supervised release.

             If the conspiracy involved schedule III, but not schedule II, controlled
             substances, not more than 10 years imprisonment, $500,000 fine, and 3
             years supervised release.

             If the conspiracy involved schedule IV, but not schedule II or III, controlled
             substances, not more than 5 years imprisonment, $250,000 fine, and 3 years
             supervised release.

PLUS:        Mandatory special assessment of $1 00 per count.

PLUS:        Restitution, if applicable.
